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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH,INC.,

                             Plaintiff,
                                                       Civil Action No. 1:17-cv-l 1008-MLW



CELLTRION HEALTHCARE CO., LTD.,
CELLTRION,INC., and
HOSPIRA,INC.,

                             Defendants.




        ASSENTED'TO DEFENDANTS' MOTION FOR LEAVE TO IMPOUND
               CONFIDENTIAL PORTIONS OF DEFENDANTS'
                         MOTION TO DISMISS MEMORANDUM


       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Dkt. 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et at. No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively "Defendants"),

hereby move this Court for an Order to impound or otherwise seal the following documents, on

the ground these documents contain or reveal Plaintiffs', Defendants' and/or third-party

confidential and proprietary information:

   • Defendants' Memorandum of Law In Support of Their Motion to Dismiss For Lack of
       Standing("Defendants' Memorandum")(filed as C.A. No. 17-11008 Dkt. 14);

   • Appendix A to Defendants' Memorandum, compiled statements by Janssen and other
       Johnson & Johnson companies (filed as C.A. No. 17-11008 Dkt. 14-1);

       Exhibit 2 to Defendants' Memorandum,Excerpts ofthe Deposition Transcript of Anne
       Martinson;

       Exhibit 3 to Defendants' Memorandum,Excerpts ofthe Deposition Transcript of
       Kenneth Dow;




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